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UNITED STATES DISTRICT COURT  ©2)911.2.25 pM a: 59
MIDDLE DISTRICT OF FLORIDA ”
ORLANDO DIVISION

UNITED STATES OF AMERICA
v. CASE NO, 6:A%-cC-S 1-Or| All i Re

PAUL BANNON POWERS 15 U.S.C. §§ 78j(b) & 78ff:
17 C.F.R. §§ 240.10b-5 & 240.10b5-2.

INFORMATION

The United States charges that:
L BACKGROUND

A. SeaWorld Entertainment, Inc.

1. SeaWorld Entertainment, Inc. (“SeaWorld”) was a Delaware
corporation, with its headquarters in Orlando, Florida. SeaWorld operated theme
parks in Florida and elsewhere in the United States, including SeaWorld-branded
parks in Florida, Texas, and California.

B. The Defendant

2: The Defendant, PAUL BANNON POWERS, was a licensed attorney,
and a resident of Orlando, Florida. Until October 2018, POWERS was employed as
SeaWorld’s Associate General Counsel and Assistant Secretary, and worked at
SeaWorld’s headquarters in Orlando, Florida.

3. As SeaWorld’s Associate General Counsel and Assistant Secretary,

POWERS attended and took detailed notes of the meetings of SeaWorld’s Revenue
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and Audit Committees, and he regularly received advance copies of the materials
that were discussed at such meetings, including material and confidential
information about SeaWorld’s financial performance.

4, By virtue of his position as Associate General Counsel and Assistant
Secretary, POWERS owed a duty of trust and confidence to SeaWorld and to
SeaWorld’s shareholders.

Cc. SeaWorld Securities

Ds SeaWorld’s stock was publicly traded under the ticker symbol “SEAS”
on the New York Stock Exchange, a national securities exchange, and was registered
with the United States Securities and Exchange Commission (the “SEC”), an agency
of the United States, pursuant to Section 12(b) of the Securities Exchange Act of
1934 (15 U.S.C. § 781(b)). As a public company, SeaWorld and its directors, officers,
and employees were required to comply with the federal securities laws, regulations,
and rules. Among other things, SeaWorld was required to file quarterly reports
(“SEC Forms 10-Q”) with the SEC containing financial statements that accurately
and fairly presented the financial condition of SeaWorld, as well as other reports
about SeaWorld’s management, Board of Directors, business operations, and
performance. Through these reports, SeaWorld disclosed its financial information to

the SEC, SeaWorld’s shareholders, and the investing public.
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COUNT ONE
Securities Fraud
(15 U.S.C. §§ 78j(b) & 78ff;
17 C.F.R. §§ 240.10b-5 & 240.10b5-2)

6. The allegations in paragraphs | through 5 are realleged and
incorporated as if fully set forth here.

7. In or around August 2018, in the Middle District of Florida and
elsewhere, the Defendant,

PAUL BANNON POWERS,

knowingly and willfully, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails and the facilities of
national securities exchanges, in connection with the purchase and sale of securities,
used and employed, and caused others to use and employ, manipulative and
deceptive devices and contrivances, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by: (a) employing, and causing others to employ,
devices, schemes, and artifices to defraud; (b) making, and causing others to make,
untrue statements of material fact and omitting to state, and causing others to omit to
state, material facts necessary in order to make the statements made, in the light of
the circumstances under which they were made, not misleading; and (c) engaging,
and causing others to engage, in acts, practices, and courses of business which
operated and would operate as a fraud and deceit upon persons, to wit, on the basis

of material, non-public information obtained from his employer, POWERS executed
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and caused to be executed trades in the securities of SeaWorld.

All in violation of Title 15, United States Code, Sections 78j(b) & 78ff;
Title 17, Code of Federal Regulations, Section 240.10b-5 and 240.10b5-2.

Il. DESCRIPTION OF THE INSIDER-TRADING SCHEME

A. The Defendant’s Duties to SeaWorld

8. On or about August 5, 2013, SeaWorld notified POWERS in writing
that he was a “Restricted Person” under SeaWorld’s trading policies, and that as a
Restricted Person he was allowed to trade shares of SeaWorld stock only during a
“Window Period.” In addition, under the same trading policies, SeaWorld notified
POWERS that he was required to have any trades he wished to execute in shares of
SeaWorld stock pre-approved by SeaWorld’s General Counsel.

9. On or about May 8, 2018, POWERS received a letter from the
SeaWorld legal department stating that the Window Period governing trading in
shares of SeaWorld stock prior to the release of SeaWorld’s SEC Form 10-Q would
run from May 10 to June 15, 2018, meaning that POWERS was allowed to trade
shares of SeaWorld stock only during that period. The letter further stated the
following in bolded text: “After the close of the Window Period [z.e. June 15, 2018]
_.. Restricted Persons may not purchase, sell or otherwise dispose of any of the
Company’s securities.” On or about August 6, 2018, POWERS received a letter
from the SeaWorld legal department stating that the Window Period for trading in
SeaWorld stock would reopen on August 8, 2018, and remain open until September

14, 2018.
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10. Insum, pursuant to SeaWorld’s trading policies, POWERS was (1)
required to obtain pre-approval from SeaWorld’s General Counsel prior to executing
any trades in SeaWorld stock, and (2) wholly prohibited from trading in shares of
SeaWorld stock from June 15, 2018, when the Window Period closed, until August
8, 2018, when the Window Period reopened.

B. The Defendant Gains Material and Confidential
Information from his Employer

11. By atleast June 2018, POWERS began receiving material and
confidential information about SeaWorld’s financial performance and upcoming
non-public events, which POWERS knew would be released to the public on August
6, 2018 when SeaWorld filed its SEC Form 10-Q for the Second Quarter of 2018,
including the following:

e Onor about June 18, 2018, POWERS received materials prepared
for an upcoming Revenue Committee meeting showing that
SeaWorld anticipated both attendance and revenue to increase in the
first half of 2018 by approximately 8% as compared to the first half
of 2017. On or about June 20, 2018, POWERS attended a meeting
of the Revenue Committee where the increase in attendance and
revenue was discussed, and took notes of the meeting in his capacity
as Assistant Secretary.

e Onorabout July 6, 2018, POWERS received materials prepared for

an upcoming Revenue Committee meeting showing that SeaWorld

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had achieved an 8% increase in attendance and an 8.7% increase in
revenue in the first half of 2018 as compared to the first half of 2017.
On or about July 9, 2018, POWERS attended a meeting of the
Revenue Committee where the increase in attendance and revenue
was discussed, and took notes of the meeting in his capacity as
Assistant Secretary.

© On or about August 1, 2018, POWERS received materials prepared
for an upcoming Audit Committee meeting that included a draft
earnings release reporting the increased revenue and attendance
figures for the first half of 2018, and also reporting that one of
SeaWorld’s key earnings metrics (earnings before interest, tax,
depreciation, and amortization or “EBITDA”) had improved 59.1%
in the first half of 2018 as compared to the first half of 2017. In
addition, POWERS received a draft SEC Form 10-Q reflecting that
SeaWorld had “reached an agreement in principle with the [SEC
Enforcement] Staff to settle, without admitting or denying, charges
against [SeaWorld] arising out of the previously disclosed SEC
investigation [and that SeaWorld] recorded an estimated liability of
$4.0 million related to this matter.” On August 3, 2018, POWERS

attended a meeting of the Audit Committee where the draft earnings
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release and SEC Form 10-Q were discussed, and took notes of the
meeting in his capacity as Assistant Secretary.

C. The Defendant Trades in the Securities of SeaWorld on the Basis of Material
and Confidential Information

12. In order to obtain funds for the purpose of trading in shares of
SeaWorld stock, on July 31, 2018, POWERS liquidated all of the equities in his
personal TD Ameritrade account, realizing gross proceeds of approximately
$387,795.

13. On August 2, 2018, POWERS used almost all of the proceeds from the
July 31, 2018 transaction to purchase 18,000 shares of SeaWorld stock at a cost of
approximately $385,592.

14. POWERS never sought pre-approval from SeaWorld’s General
Counsel prior to executing the trade to buy 18,000 shares of SeaWorld stock on
August 2, 2018. In addition, when POWERS executed this trade, he was wholly
prohibited from trading in SeaWorld stock under SeaWorld’s trading policies.

15. POWERS nevertheless purchased 18,000 shares of SeaWorld on
August 2, 2018 because he had gained material and confidential information about
SeaWorld’s positive financial performance that he knew SeaWorld would be
reporting to the public on August 6, 2018.

16. On August 6, 2018, SeaWorld announced the better-than-expected
attendance, revenue, and EBITDA results, which caused the price of SeaWorld

shares to spike approximately 17%—from $21.13 per share at the close of trading on
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Friday, August 3, 2018 to $25.40 per share when the market reopened on Monday
August 6, 2018.

17. On the morning of August 6, 2018, POWERS entered an order to sell
all 18,000 shares of his SeaWorld stock at market price, realizing gross proceeds of
$450,237, and a net profit of approximately $64,645.

18. POWERS never sought pre-approval from SeaWorld’s General
Counsel prior to executing the trade to sell 18,000 shares of SeaWorld stock on
August 6, 2018. In addition, when he executed this trade, POWERS was wholly
prohibited from trading in SeaWorld stock under SeaWorld’s trading policies.

FORFEITURE

1, The allegations contained in Count One are incorporated by reference
for the purpose of alleging forfeiture, pursuant to provisions of 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c).

2 Upon conviction of the offense charged in this Information, the
Defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and
28 U.S.C. § 2461(c), any property, real or personal, that constitutes or is derived,
directly or indirectly, from proceeds traceable to the charged offense.

3. The property to be forfeited includes a money judgment against PAUL
BANNON POWERS in the amount of $64,645 in United States currency,

representing the amount of insider-trading proceeds obtained as a result of the
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charged violation of Title 15, United States Code, Sections 78j(b) & 78ff; Title 17,
Code of Federal Regulations, Sections 240.10b-5 and 240.10b5-2.
4, If, as a result of any act or omission of the defendant, any property

subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;
e has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

é. has been commingled with other property which cannot be

subdivided without difficulty;
the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

ROBERT ZINK
Acting Chief, Fraud Section
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